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                                          UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                               CIVIL COVER SHEET
I. (a) PLAINTIFFS ( Check box if you are representing yourself                 D)             DEFENDANTS              ( Check box if you are representing yourself             D)
MICHAEL SAUNDERS, an individual, on his own behalf and on behalf of all others                AMERIPRISE FINANCIAL SERVICES, INC., a Delaware corporation, and DOES 1-100,
similarly situated                                                                            inclusive,

(b) County of Residence of First Listed Plaintiff              Los Angeles                    County of Residence of First Listed Defendant                     Minnesota
(EXCEPT IN U.S. PLAINTIFF CASES)                                                              (IN U.S. PLAINTIFF CASES ONLY)

(c) Attorneys   (Firm Name, Address and Telephone Number) If you are                          Attorneys     (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.                                          representing yourself, provide the same information.

Marcus Bradley/ Kiley Grombacher                                                              Gabrielle Wirth/ Pavlina Rafter
Bradley/Grombacher, LLP, 2815 Townsgate Road, Suite 130                                       DORSEY & WHITNEY LLP, 600 Anton Boulevard, Suite 2000
Westlake Village, CA 91361                                                                    Costa Mesa, CA 92626-7655

II. BASIS OF JURISDICTION (Place an Xin one box only.)                               Ill. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
                                                                                           (Place an X in one box for plaintiff and one for defendant)
                                                                                                                  PTF DEF                                                PTF       DEF
D 1. U.S. Government                 D 3. Federal Question (U.S.                     Citizen ofThis State         @ 1 D 1 Incorporated or Principal Place
                                                                                                                                    of Business in this State
                                                                                                                                                                          D    4   D     4
    Plaintiff                            Government Not a Party)
                                                                                     Citizen of Another State                       Incorporated and Principal Place
                                                                                                                                    of Business in Another State
D 2. U.S. Government                 [RI 4. Diversity (Indicate Citizenship          Citizen or Subject of a
                                                                                                                  D   3    D   3    Foreign Nation
    Defendant                            of Parties in Item 111)                     Foreign Country


IV. ORIGIN     (Place an X in one box only.)                                                                                                 . Multidistrict
     1. Original    [RI 2. Removed from         D
                                           3. Remanded from                D   4. Reinstated or    D   5. Transferred from Another     D6      L·t·
                                                                                                                                                1 1gat·ion-     D
                                                                                                                                                                    8. Multidistrict
D       Proceeding         State Court        Appellate Court                     Reopened                District (Specify)                   Transfer
                                                                                                                                                                       Litigation -
                                                                                                                                                                       Direct File


V. REQUESTED IN COMPLAINT: JURY DEMAND:                              [RI   Yes    O     No        (Check "Yes" only if demanded in complaint.)

CLASS ACTION under F.R.Cv.P. 23:                    [RI Yes    O No                         O MONEY DEMANDED IN COMPLAINT:                            $
VI. CAUSE OF ACTION            (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
28 U.S.C. § 1332, 1441, 1453 (CAFA Jurisdiction); Removal of employee class action for diversity; CAFA jurisdiction


VII. NATURE OF SUIT (Place an X in              one box only).



                                                                                                                           Habeas Corpus:

    376QuiTam                  D    120 Marine                                                                      D     463 Alien Detainee         D    830 Patent
D   (31 USC 3729(a))
                                                                                                                    D     510 Motions to Vacate
                                                                                                                                                     D
                               D   130 Miller Act                                                                         Sentence                        835 Patent - Abbreviated
    400 State                       140 Negotiable                                                                  D     530 General                     New Drug Application
D   Reapportionment            D    Instrument                                                                      D     535 Death Penalty          D    840 Trademark
D   410 Antitrust                   150 Recovery of                                                                                Other:
D   430 Banks and Banking      D    Overpayment &
                                    Enforcement of
                                                         D    310 Airplane
                                                                                             371 Truth in Lending  D      540 Mandamus/Other              861 HIA (1395ff)
                                                              315 Airplane
D   450 Commerce/ICC                Judgment             D    Product Liability               380 Other Personal   D      550 Civil Rights           D    862 Black Lung (923)
    Rates/Etc.
                               D    151 Medicare Act          320 Assault, Libel &     D Property Damage                  555 Prison Condition       0    863 DIWC/DIWW (405 (g)}
D   460 Deportation                                      D    Slander                                              D
    470 Racketeer lnflu-            152 Recovery of           330 Fed. Employers'
                                                                                              385 Property Damage
                                                                                       D Product Liability                560 Civil Detainee         D    864 SSID Title XVI
D   enced & Corrupt Org.       D    Defaulted Student    D                                                         D      Conditions of
                                    Loan (Exel. Vet.)
                                                              Liability
                                                                                       t:Jlfjjf~~~(fl,UPl<.:~:,1ii        Confinement                0    865 RSI (405 (g)}
D   480 Consumer Credit
                                                         D    340Marine
                                                                                             422 Appeal 28
                                   153 Recovery of
D   490 Cable/Sat TV
                               D   Overpayment of        D
                                                              345 Marine Product        D    USC 158                      625 Drug Related
                                                              Liability                                                                                   870 Taxes (U.S. Plaintiff or
D
    850 Securities/Com-
    modities/Exchange
                                   Vet. Benefits                                                                          Seizure of Property 21     D    Defendant)
                                   160 Stockholders'     D    350 Motor Vehicle                                           USC 881
                                                                                                                                                          871 IRS-Third Party 26 USC
    890 Other Statutory        D   Suits                      355 Motor Vehicle                                           690 Other                  D    7609
D   Actions                                              D    Product Liability

D   891 Agricultural Acts      D    190 Other                 360 Other Personal        D
                                    Contract             D    Injury                    D    441 Voting
    893 Environmental
D   Matters                    D
                                   195 Contract
                                                         D
                                                              362 Personal Injury-
                                                              Med Malpratice            D    442 Employment         D     720 Labor/Mgmt.
                                   Product Liability
    895 Freedom of Info.                                                                     443 Housing/                 Relations
D   Act                             196 Franchise             365 Personal Injury-     D     Accommodations
                                                              Product Liability                                     D     740 Railway Labor Act
D   896 Arbitration                                           367 Health Care/               445 American with
                                                                                                                    D     751 Family and Medical
    899 Admin. Procedures
                               D   210 Land                   Pharmaceutical           D     Disabilities-
                                                                                             Employment                   Leave Act
                                   Condemnation               Personal Injury
D   Act/Review of Appeal of
                               D   220 Foreclosure            Product Liability              446 American with      @     790 Other Labor
    Agency Decision
                                                              368 Asbestos
                                                                                       D     Disabilities-Other           Litigation
D   950 Constitutionality of
                               D
                                   230 Rent Lease &      D    Personal Injury
                                                                                       D     448 Education
                                                                                                                    D     791 Employee Ret. Inc.
    State Statutes                 Ejectment                  Product Liabilit                                            Security Act


FOR OFFICE USE ONLY:                      Case Number:
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                                                                      CIVIL COVER SHEET

VIII. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.

QUESTION A: Was this case removed
from state court?
                  ~     Yes     D      No
                                                ~ Los Angeles, Ventura, Santa Barbara, or San Luis Obispo                   Western
lf"no," skip to Question B. If "yes," check the t - - - - - - - - - - - - - - - - - - - - - - - - - - - - + - - - - - - - - - - - - - - - - - - 1
box to the right that applies, enter the               D
                                                    Orange                                                                  Southern
corresponding division in response to           >----------------------------+-----------------<
Question E, below, and continue from there.            D
                                                    Riverside or San Bernardino                                              Eastern



QUESTION B: Is the United States, or B.1. Do 50% or more of the defendants who reside in                               YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees, a  the district reside in Orange Co.?                                            D   Enter "Southern" in response to Question E, below, and continue
PLAINTIFF in this action?                                                                                              from there.
                                                       check one of the boxes to the right
                  D     Yes     ~      No
                                                                                                                   D   NO. Continue to Question B.2.

                                                       B.2. Do 50% or more of the defendants who reside in             YES. Your case will initially be assigned to the Eastern Division.
If "no," skip to Question C. If "yes," answer
Question B.1, at right.
                                                       the district reside in Riverside and/or San Bernardino      D   Enter "Eastern" in response to Question E, below, and continue
                                                       Counties? (Consider the two counties together.)                 from there.

                                                       check one of the boxes to the right                             NO. Your case will initially be assigned to the Western Division.
                                                                                                                   D   Enter "Western" in response to Question E, below, and continue
                                                                                                                       from there.


QUESTION C: Is the United States, or C.1. Do 50% or more of the plaintiffs who reside in the                           YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees, a  district reside in Orange Co.?                                                D   Enter "Southern" in response to Question E, below, and continue
DEFENDANT in this action?                                                                                              from there.
                                                       check one of the boxes to the right
                  D      Yes    ~      No
                                                                                                                   D   NO. Continue to Question C.2.

                                                       C.2. Do 50% or more of the plaintiffs who reside in the         YES. Your case will initially be assigned to the Eastern Division.
If "no," skip to Question D. If "yes," answer
Question C.1, at rig ht.
                                                       district reside in Riverside and/or San Bernardino          D   Enter "Eastern" in response to Question E, below, and continue
                                                       Counties? (Consider the two counties together.)                 from there.

                                                       check one of the boxes to the right                             NO. Your case will initially be assigned to the Western Division.
                                                                                                                   D   Enter "Western" in response to Question E, below, and continue
                                                                                                                       from there.




Indicate the location(s) in which 50% or more of plaintiffs who reside in this district
reside. (Check up to two boxes, or leave blank if none of these choices apply.)
Indicate the location(s) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices
apply.)
                                                                                                                  D                                                             D
Y/_\c-- :-':,:;~i-liw'B'~;illjJ§4'~@
                    D.1. Is there at least one answer in Column A?                                                D.2. Is there at least one answer in Column B?
                                            D Yes      [gj   No                                                                     D Yes          [gj   No

                         If "yes," your case will initially be assigned to the                                       If "yes," your case will initially be assigned to the

                                       SOUTHERN DIVISION.                                                                          EASTERN DIVISION.
      Enter "Southern" in response to Question E, below, and continue from there.                                    Enter "Eastern" in response to Question E, below.

                                If "no," go to question D2 to the right.                                        If "no," your case will be assigned to the WESTERN DIVISION.

                                                                                                                    Enter "Western" in response to Question E, below.




Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?
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IX(a). IDENTICAL CASES: Has this action been previously filed in this court?                                                                    ~ NO                D     YES

        If yes, list case number(s):


IX(b). RELATED CASES: Is this case related (as defined below) to any civil or criminal case(s) previously filed in this court?
                                                                                                                                                ~ NO                DYES
        If yes, list case number(s):



        Civil cases are related when they (check all that apply):

              D     A. Arise from the same or a closely related transaction, happening, or event;

              D     B. Call for determination of the same or substantially related or similar questions of law and fact; or

              D     C. For other reasons would entail substantial duplication of labor if heard by different judges.

        Note: That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases related.



        A civil forfeiture case and a criminal case are related when they (check all that apply):

              D     A. Arise from the same or a closely related transaction, happening, or event;

              D     B. Call for determination of the same or substantially related or similar questions of law and fact; or

                    C. Involve one or more defendants from the criminal case in common and would entail substantial duplication of
              D     labor if heard by different judges.


X. SIGNATURE OF ATTORNEY            ~ . / ~ , . . /l)
(OR SELF-REPRESENTED LITIGANT): E:::::,=.,=·--_--_=""""
                                                   __   ~__
                                                          t -_
                                                             - -_ _ _ _ _ _ _ _ __                                                  DATE:      12/27/2018

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet (CV-071 A).




Key to Statistical codes relating to Social Security Cases:

     Nature of Suit Code       Abbreviation                    Substantive Statement of Cause of Action
                                                   All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
        861                       HIA              include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
                                                   (42 U.S.C. 1935FF(b))

        862                       BL               All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
                                                   923)

                                                   All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
        863                       DIWC
                                                   all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

                                                   All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
        863                       DIWW
                                                   amended. (42 U.S.C. 405 (g))

                                                   All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
        864                       SSID
                                                   amended.


        865                       RSI              All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
                                                   (42 u.s.c. 405 (g))




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                                          PROOF OF SERVICE
 1
                          STATE OF CALIFORNIA, COUNTY OF ORANGE
 2
            I am employed in the City of Costa Mesa, County of Orange, State of California.
 3   I am over the age of 18 years and not a party to the witnin action. My business address
     is 600 Anton Boulevard, Suite 2000, Costa Mesa, CA 92626. On December 27, 2018, I
 4   served the documents named below on the parties in this action as follows:
 5   DOCUMENT(S) SERVED:                  CIVIL COVER SHEET
 6
     SERVED UPON:                         Bradley/ Grombacher, LLP
 7                                        Marcus J. Bradley
                                          Kiley L. Grombacher
 8                                        Taylor L. Emerson
                                          2815 Townsgate Road, Suite 130
 9                                        Westlake Village, CA 91361
                                          Telephone: (805) 270-7100
10                                        Facsimile: (805) 270-7589
11   D              (BY MAIL) I caused each such envelope, with postage thereon fully prepaid,
                    to be placed in the United States mail at Costa Mesa, California. I am readily
12                  familiar with the practice of Dorsey & Whitney LLP for collection and
                    processing of correspondence for mailing, said practice being that in the
13                  ordinary course of business, mail is deposited in the United States Postal
                    Service the same day as it is placed for collection.
14
     D              (BY PERSONAL SERVICE) I delivered to an authorized courier or driver
15                  authorized by Legal Solution to receive documents to be delivered on the same
                    date. A proof of service signed by the courier will be filed with the court upon
16                  request.
17   D              (BY ELECTRONIC MAIL) A COURTESY COPY of the above-referenced
                    document was transmitted in "pdf' format by electronic mail ("e-mail"), and
18                  no errors were reported.
19   ~              (BY FEDERAL EXPRESS) I am readily familiar with the practice of Dorsey
                    & Whitney LLP for collect10n and processing of correspondence for overnight
20                  delivery and know that the document(s) described herem will be deposited ma
                    bo~ or other facility regularly maintained by Federal Express for overnight
21                  delivery.
22   ~             (FEDERAL) I declare that I am employed in the office of a member of the bar
                   of this court, at whose direction this service was made. (STATE) I declare
23                 under penalty of perjury under the laws of the State of California that the
                   above 1s true and correct.
24
                   Executed on December 27, 2018, at Costa Mes~               Ia.
25
26
27
28

                                              PROOF OF SERVICE
     4843-8379-9938\I
